Case 3:20-cv-00719-DPJ-FKB Document1-5 Filed 11/09/20 Page 1 of 2

Exhibit
Case 3:20-cv-00719-DPJ-FKB Document1-5 Filed 11/09/20 Page 2 of 2

Department of Public Works
Division of Water/Sewer Business Administration

1000 Metrocenter Mall
Suite 103
Jackson, MS 39209

Chokwe Antar Lumumba
Mayor of the City of Jackson

 

February 13, 2020

Helen F. Noel

Re; Account # 7821500000
Dear Customer:

After careful review of your account, it was determined that we are unable to honor your request
for a credit adjustment at this time. In order to consider your request for an adjustment due to the
leak that you experienced, we will need the following information:

A written Plumber’s Statement or Invoice from the plumber which includes the name
and phone number of the plumber and the account holder’s name and service location.
All of this information MUST appear on the statement. We cannot accept estimates,
insurance claims, contracts or proposals.

Xx Customer’s phone number.

Xx Specific type of repairs that have been completed as the result of a leak (i.e. broken
——_ pipe under house, commode leak, leak under sink, leaking tub faucet, etc.)

———_ Date of repairs. The date must reflect when the repair(s) was made.

Receipt for parts or materials purchased if repair was made by the property owner
and a Plumber’s Statement or Invoice would not be obtainable.

Please fax requested information to (601) 960-1130 Attn: Adjustments
or mail to: Water & Sewer Business Administration
. 1000-Metro.Center Drive...
Suite 103
Attn: Adjustments
Jackson, MS 39209

If you have any questions, please feel free to come by our business office at the Metro Center
Mall. Ifit is more convenient for you to call, contact our Account Service Division at 601-960-
2000 Monday through Friday between 7:30 a.m. and 5:30 p.m. CST.

Water/Sewer Business Administration
Research/Adjustments Division
